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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WISCONSIN



CONSUELA SMITH-WILLIAMS,
FRED RIVERS, RICHARD MURPHY,
ROBERT RISTOW, ROGER SUHR,
and SALVADOR FUENTES,

                      Plaintiffs,                          Case No.: 17-CV-823

v.

THE UNITED STATES OF AMERICA,

                  Defendant.
___________________________________/

     STIPULATION FOR CO-COUNSEL TO APPEAR AT PRETRIAL CONFERENCE

        The Plaintiffs, Consuela Smith-Williams, Fred Rivers, Richard Murphy, Robert Ristow,

Roger Suhr and Salvador Fuentes and the Defendant, United States of America, by and through

their undersigned counsel, hereby file this stipulation for Matthew A. Biegert, the Plaintiffs’

Wisconsin co-counsel, to attend the December 11, 2019 pretrial conference in place of William

Rieder and Allan Kaiser and to allow Mr. Rieder and Mr. Kaiser to participate by telephone.

Dated: November 11, 2019

 s/ Matthew A. Biegert                           SCOTT C. BLADER
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